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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11, 03 MDL 1570 (GBD)(SN)
2001 ECF Case

This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al,, 02-cv-6977 (GBD)(SN) (and member case
Marie Laure Anaya, et al. v. Islamic Republic of Iran, 1:18-cv-12341 (GBD) (SN)))

[PROPOSED] PARTIAL FINAL DEFAULT JUDGMENT

(ANA YA/IRAN ITD)

Upon consideration of the evidence and arguments submitted by Anaya/Iran Plaintiffs
identified in Exhibit A to this Order, who each represent the estate of an individual who was
killed in the terrorist attacks on September 11, 2001, and the judgment on default as to liability
entered against the Islamic Republic of Iran on October 5, 2021 in the above-captioned Marie
Laure Anaya, et al. v. Islamic Republic of Iran, 1:18-cv-12341 (GBD) (SN) (ECF No. 70) and in
the above-captioned Multidistrict Litigation (ECF No. 7178), together with the entire record in
this case, it is hereby;

ORDERED that service of process in the above-captioned Marie Laure Anaya, et al. v.
Islamic Republic of Iran, 1:18-cv-12341 (GBD) (SN) was effectuated upon the Islamic Republic
of lran in accordance with 28 U.S.C. § 1608(a); and it is

ORDERED that, there being no just reason for delay, partial final judgment is entered
against the Islamic Republic of Iran and in favor of Anaya/Iran Plaintiffs identified in Exhibit A
hereto, who each represent the estate of an individual who was killed in the terrorist attacks on

September 11, 2001, as indicated in Exhibit A; and it is
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ORDERED that Anaya/Iran Plaintiffs identified in Exhibit A hereto are awarded
economic damages as set forth in Exhibit A hereto and as supported by the expert reports and
analyses tendered in conjunction with the Declaration of Joseph Peter Drennan executed on
July 28, 2022; and it is

ORDERED that Anaya/Iran Plaintiffs identified in Exhibit A hereto are each awarded
prejudgment interest on the damages hereby awarded to be calculated at a rate of 4.96 percent
per annum, compounded annually, running from September 11, 2001 until the date of this
judgment; and it is

ORDERED that Anaya/Iran Plaintiffs identified in Exhibit A hereto may submit
applications for punitive or other damages at a later date consistent with any future rulings of this
Court; and it is

ORDERED that other Anaya//ran Plaintiffs may submit in later stages applications for
damages awards.

Furthermore, the Court respectfully directs the Clerk of Court to terminate the motion at
ECF 8280 in 03-MDL-1570 (GBD)(SN) and ECF No. 114 in 18-cv-12341 (GBD)(SN).

Dated: New York, New York

AUC-+4-2-2822"" SO ORDERED:
Gucar. B Doak.

CEGRG " DANIELS
Unitted States District Judge

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